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                            UNITED STATES DISTRICT COURT
 11
                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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 13
    PLAYBOY ENTERPRISES                      Case No. 2:20-cv-9846-JVS-KS
 14 INTERNATIONAL, INC.,
                                             ORDER GRANTING JOINT
 15                Plaintiff and Counter-    STIPULATION OF DISMISSAL
                   Defendant,                WITH PREJUDICE
 16
           v.                                The Honorable James V. Selna
 17
    FASHION NOVA, LLC, formerly
 18 known as FASHION NOVA, INC.,
 19                Defendant and Counter-
                   Plaintiff.
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                                                                      Case No. 20-cv-9846
                                                                                  ORDER
Case 2:20-cv-09846-JVS-KS Document 40 Filed 11/05/21 Page 2 of 2 Page ID #:397




  1                                         ORDER
  2        Pursuant to the Stipulation of the parties under Rule 41(a)(1)(A)(ii) of the
  3 Federal Rules of Civil Procedure, IT IS HEREBY ORDERED that this action is
  4 dismissed with prejudice, including all claims and counterclaims stated herein
  5 against all parties, with each party to bear its own attorneys’ fees and costs.
  6
  7 DATED: November 5, 2021
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  9
                                            By
 10
                                                 The Honorable James V. Selna
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                                                 -2-                          Case No. 20-cv-9846
                                                                            [PROPOSED] ORDER
